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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

Trieste Enterprises Inc.,                        §
                                                 §
        Plaintiff,                               §
                                                 § CIVIL ACTION NO.:
vs.                                              §
                                                 § IN ADMIRALTY, Rule 9(h)
Ducat Maritime Ltd.,                             §
                                                 §
             Defendant,                          §
                                                 §
and                                              §
                                                 §
GoDaddy.com, LLC                                 §
                                                 §
            Garnishee.                           §


       VERIFIED COMPLAINT WITH REQUEST FOR ISSUANCE OF
      PROCESS OF MARITIME ATTACHMENT AND GARNISHMENT

       Trieste Enterprises Inc. (“Trieste”) brings this action against Ducat Maritime

Ltd. (“Ducat”) quasi in rem pursuant to Supplemental Rule B for Certain

Admiralty and Maritime Claims, requesting the issuance of process of maritime

attachment and garnishment including against Garnishee and states as follows:

                                 Jurisdiction and Venue

       1.       This is an action within this Court’s admiralty jurisdiction pursuant to

28 U.S.C. § 1333 and is an admiralty or maritime claim within Fed. R. Civ. P. 9(h).
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      2.      Venue is proper in this District because Garnishee can be found in this

District, within the meaning of Supplemental Rule B, and/or can be served with

process in this District.

      3.      Venue is also proper in this District because Defendant’s property is

or soon will be in this District, namely, one or more website and e-mail accounts

and/or other property or assets held by Garnishee.

      4.      Defendant cannot be found in this District within the meaning of

Supplemental Rule B.

      5.      Trieste further brings this action pursuant to the Federal Arbitration

Act, 9 U.S.C. §8 to assist and to obtain security for London maritime arbitration

that Trieste has initiated pursuant to the charter party for the M/V SOFIA between

Trieste and Ducat, as more fully set out herein.

                                     The Parties

      6.      Trieste is a company organized under the laws of Liberia and at all

relevant times was the registered owner of the M/V SOFIA, IMO IMO 9472086

(“Vessel”).

      7.      Ducat is a Cyprus company and was at all relevant times the charterer

of the Vessel.




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      8.     Garnishee GoDaddy.com LLC is an entity with offices or agents

located in this District which, on information and belief as detailed below, Trieste

reasonably believes holds accounts or property of and/or owing to Ducat.

                                        Facts

      9.     Trieste chartered the Vessel to Ducat (the “Charterers”) under an

amended New York Produce Exchange (“NYPE”) 1946 form charter dated July

26, 2023 (the “Charterparty”) for a single time charter trip via Thailand

(Kohsichang) to West Africa including Cotonou, Benin, with bulk rice / bagged

rice (“Cargo”). The Vessel was chartered to call in West Africa ports.

      10.    The Charterparty provides for London maritime arbitration. Trieste

has initiated the London maritime arbitration and that arbitration proceeding.

      11.    There were delays in loading the Vessel at Thailand and when the

Vessel arrived at Cotonou, Benin, there were delays with discharge of the Cargo

and the Vessel otherwise, but no delay due to the fault of Trieste.

      12.    The Charterparty as Ducat agreed, required Ducat to pay daily hire to

Trieste in the amount of US$ 8,000 for the first 75 days and US$ 9,500 for the

remainder of the Charterparty until the Vessel’s redelivery. In breach of the

Charterparty, Ducat has failed to pay hire in the amount of US$ 37,240.00 to

Trieste which is due since 9th November, when the Vessel was redelivered.


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      13.    The Charterparty as Ducat agreed requires Ducat’s payment including

any extra expenses including but not limited to crew bonus, additional premia of

insurances, security guards, escort boat and other precautions related to piracy for

sailing / drifting / transiting Gulf of Guinea, as well as any applicable Additional

War Risk Premiums / Loss of Hire / Kidnap and Ransom insurance premiums

concerning the Vessel’s call at Cotonou.

      14.    Ducat caused the Vessel to be loaded with the Cargo at Kohsichang,

Thailand before the sailing to West Africa, and the loading involved a prolonged

stay at Kohsichang for an excess of thirty (30) days. Visas for the crew members

expired and had to be extended, a direct consequence of Ducat’s orders to remain

at Kohsichang for a period exceeding thirty (30) days, contrary to Ducat’s initial

orders, according to which the stay at Kohsichang would not exceed thirty (30)

days. Ducat also therefore owes Trieste the costs of visa renewal, in accordance

with Trieste’s implied indemnity for following Ducat’s orders.

      15.    The Vessel remained in the Gulf of Guinea war risk area for almost 40

days, entailing further charges as the Charterparty Ducat to pay Trieste, including,

for marine fuel (“bunkers”) consumed but not paid for, Additional War Risk

Premium, Loss of Hire, and Kidnap and Ransom insurance premiums.

      16.    The Charterparty also provided for Trieste to appoint a marine

surveyor to perform a precondition and tally survey at the loading port
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Kohsichang, Thailand with the relevant cost to be split 50/50 between Ducat and

Trieste; Ducat has failed further to pay for the survey fees and expenses.

       17.       The Charterparty further requires Ducat to pay 50% of the costs of

cleaning the cargo hold of the Vessel after discharge, however, Ducat also failed to

pay this agreed 50% of cleaning costs.

       18.       Trieste made demand for the Charterparty amounts Ducat failed to

pay, and although Ducat paid some of those it still has failed to pay Charterparty

amounts due, which total at least $77,971.15.

                         Count I – Breach of Maritime Contract

       19.       Trieste incorporates the foregoing paragraphs as if fully set forth

herein.

       20.       Ducat breached the Charterparty when it refused to pay hire due under

the Charterparty as well as the additional costs and expenses, as set out above.

Despite repeated demands and reminders, Trieste remains unpaid without

justification.

       21.       Trieste therefore demands judgment, as set forth more fully below.

                             Count II – Process of Maritime
                         Attachment and Garnishment (Rule B)

       22.       Trieste incorporates the foregoing paragraphs as if fully set forth

herein.

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      23.    Trieste seeks issuance of process of maritime attachment and

garnishment so that it may obtain payment for the amounts due from Ducat.

      24.    No security for Trieste’s claims has been posted by Ducat, or anyone

acting on its behalf, to date.

      25.    Ducat cannot be found within this District within the meaning of Rule

B, but is believed to have, or will have during the pendency of this action, property

and/or assets in this jurisdiction consisting of cash, funds, freight, hire, and/or

credits in the hands of garnishees in this District, including but not limited to

GoDaddy.com LLC.

      26.    In particular, Ducat maintains its website, and by information and

belief, e-mail servers and other means of holding and processing, with

GoDaddy.com LLC:

             Domain Name: ducatmaritime.com
             Registry Domain ID: 1905402376_DOMAIN_COM-VRSN
             Registrar WHOIS Server: whois.godaddy.com
             Registrar URL: https://www.godaddy.com
             Updated Date: 2023-03-02T04:46:38Z
             Creation Date: 2015-02-25T03:30:05Z
             Registrar Registration Expiration Date: 2033-02-25T03:30:05Z
             Registrar: GoDaddy.com, LLC
             Registrar IANA ID: 146

                                    Prayer for Relief

      WHEREFORE, Trieste prays:


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      A.     That, in response to Count I, the Court enter judgment against Ducat

in the amount of at least $157,971.15 ($77,971.15 unpaid Charterparty expenses,

and a further estimated $80,000 for attorneys’ fees, costs, interests, and the costs of

London maritime arbitration including arbitrators’ fees).

      B.     That, in response to Count II, as Ducat cannot be found within this

District and pursuant to Supplemental Rule B, this Court issue an Order directing

the Clerk to issue Process of Maritime Attachment and Garnishment attaching all

tangible or intangible property, or any funds held by any garnishee, up to the

amount of at least the amount demanded herein to secure Trieste’s claims, and that

all persons claiming any interest in the same be cited to appear and, pursuant to

Supplemental Rule B, answer the matters alleged in the Verified Complaint;

      C.     That such person over 18 years of age be appointed as moved for

herein, pursuant to Supplemental Rule B and Fed. R. Civ. P. 4(c) to serve Process

of Maritime Attachment and Garnishment;

      D.     That upon Trieste obtaining full security as it demands in this Verified

Complaint, this Court stay this action pending the outcome of the London maritime

arbitration and recognize the award of that Arbitration, providing that the

recognized award be paid all or in part from the security; and

      E.     That this Court award Trieste such other and further relief that this

Court deems just and proper.
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                                                  Respectfully submitted,

                                                  YOUNG CONAWAY STARGATT
Of Counsel                                        & TAYLOR LLP

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                        Attorneys for Trieste Enterprises, Inc.

Dated: April 19, 2024




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